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                                      EXHIBIT A

                                    List of Petitions

1. Pride Group Holdings Inc. - Case No. 24-10632 (D.I. 1, Filed 4/1/24).
2. 2043002 Ontario Inc. - Case No. 24-10634 (D.I. 1, Filed 4/1/24).
3. 2554193 Ontario Inc. - Case No. 24-10635 (D.I. 1, Filed 4/1/24).
4. 2554194 Ontario Inc. - Case No. 24-10636 (D.I. 1, Filed 4/1/24).
5. 2692293 Ontario Ltd. - Case No. 24-10637 (D.I. 1, Filed 4/1/24).
6. 1000089137 Ontario Inc. - Case No. 24-10638 (D.I. 1, Filed 4/1/24).
7. Arnold Transportation Services, Inc. - Case No. 24-10639 (D.I. 1, Filed 4/1/24).
8. Coastline Holdings, Corp. - Case No. 24-10641 (D.I. 1, Filed 4/1/24).
9. Dixie Truck Parts Inc. (Canada) - Case No. 24-10642 (D.I. 1, Filed 4/1/24).
10. Dixie Truck Parts Inc. (US) - Case No. 24-10643 (D.I. 1, Filed 4/1/24).
11. DVP Holdings, Corp. - Case No. 24-10644 (D.I. 1, Filed 4/1/24).
12. Parker Global Enterprises, Inc. - Case No. 24-10645 (D.I. 1, Filed 4/1/24).
13. Parker Transport Co. - Case No. 24-10646 (D.I. 1, Filed 4/1/24).
14. Pride Group Logistics International Ltd. - Case No. 24-10647 (D.I. 1, Filed 4/1/24).
15. Pride Fleet Solutions Inc. - Case No. 24-10648 (D.I. 1, Filed 4/1/24).
16. Pride Group Logistics Ltd. - Case No. 24-10649 (D.I. 1, Filed 4/1/24).
17. Pride Fleet Solutions USA Inc. - Case No. 24-10650 (D.I. 1, Filed 4/1/24).
18. Pride Group EV Sales Ltd. - Case No. 24-10651 (D.I. 1, Filed 4/1/24).
19. Pride Group Logistics USA, Inc. - Case No. 24-10652 (D.I. 1, Filed 4/1/24).
20. TPine Financial Services Corp. - Case No. 24-10653 (D.I. 1, Filed 4/1/24).
21. Pride Group Real Estate Holdings Inc. - Case No. 24-10654 (D.I. 1, Filed 4/1/24).
22. TPine Financial Services Inc. - Case No. 24-10655 (D.I. 1, Filed 4/1/24).
23. TPine Leasing Capital Corporation - Case No. 24-10656 (D.I. 1, Filed 4/1/24).
24. Pride Truck Sales Ltd. - Case No. 24-10657 (D.I. 1, Filed 4/1/24).
25. TPine Rental USA, Inc. - Case No. 24-10658 (D.I. 1, Filed 4/1/24).
26. TPine Truck Rental Inc. - Case No. 24-10660 (D.I. 1, Filed 4/1/24).
27. Old National Highway Holding Corp. - Case No. 24-10757 (D.I. 1, filed 4/15/24).
28. High Prairie Texas Holding Corp. - Case No. 24-10758 (D.I. 1, filed 4/15/24).
29. PGED Holding, Corp. - Case No. 24-10759 (D.I. 1, filed 4/15/24).
30. Terminal Road Holding, Corp. - Case No. 24-10760 (D.I. 1, filed 4/15/24).
31. Highway 46 McFarland Holding Corp. - Case No. 24-10761 (D.I. 1, filed 4/15/24).
32. Ternes Drive Holding Corp. - Case No. 24-10762 (D.I. 1, filed 4/15/24).
33. Loop 820 Fort Worth Holding Corp. - Case No. 24-10763 (D.I. 1, filed 4/15/24).
34. Valley Boulevard Fontana Holding Corp. - Case No. 24-10764 (D.I. 1, filed 4/15/24).
35. Di Miller Drive Bakersfield Holding Corp. - Case No. 24-10765 (D.I. 1, filed 4/15/24).
36. Manheim Road Holding Corp. - Case No. 24-10766 (D.I. 1, filed 4/15/24).
37. East Brundage Lane Bakersfield Holding Corp. - Case No. 24-10767 (D.I. 1, filed
    4/15/24).
38. Oakmont Drive IN Holding Corp. - Case No. 24-10768 (D.I. 1, filed 4/15/24).
39. Eastgate Missouri Holding Corp. - Case No. 24-10769 (D.I. 1, filed 4/15/24).
40. French Camp Holding Corp. - Case No. 24-10770 (D.I. 1, filed 4/15/24).
41. 102098416 Saskatchewan Ltd. - Case No. 24-10771 (D.I. 1, filed 4/15/24);
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42. Frontage Road Holding Corp. - Case No. 24-10772 (D.I. 1, filed 4/15/24).
43. Alexis Investments, LLC - Case No. 24-10773 (D.I. 1, filed 4/15/24);
44. 2837229 Ontario Inc. - Case No. 24-10774 (D.I. 1, filed 4/15/24);
45. Bishop Road Holding Corp. - Case No. 24-10775 (D.I. 1, filed 4/15/24);
46. 2863283 Ontario Inc. - Case No. 24-10776 (D.I. 1, filed 4/15/24);
47. 12944154 Canada Inc. - Case No. 24-10777 (D.I. 1, filed 4/15/24);
48. Corrington Missouri Holding Corp. - Case No. 24-10778 (D.I. 1, filed 4/15/24);
49. Crescentville Road Cincinnati Holding Corp. - Case No. 24-10779 (D.I. 1, filed 4/15/24);
50. 13184633 Canada Inc. - Case No. 24-10780 (D.I. 1, filed 4/15/24);
51. 13761983 Canada Inc. - Case No. 24-10781 (D.I. 1, filed 4/15/24);
52. 11670 Interstate Holding, Corp. - Case No. 24-10782 (D.I. 1, filed 4/15/24);
53. 933 Helena Holdings Inc. - Case No. 24-10783 (D.I. 1, filed 4/15/24);
54. 30530 Matsqui Abbotsford Holding Inc. - Case No. 24-10784 (D.I. 1, filed 4/15/24);
55. 963 Sweetwater Holding Corp. - Case No. 24-10785 (D.I. 1, filed 4/15/24);
56. 2029909 Ontario Inc. - Case No. 24-10786 (D.I. 1, filed 4/15/24);
57. 1450 Meyerside Holding Inc. - Case No. 24-10787 (D.I. 1, filed 4/15/24);
58. 2076401 Ontario Inc. - Case No. 24-10788 (D.I. 1, filed 4/15/24);
59. 2108184 Alberta Ltd. - Case No. 24-10789 (D.I. 1, filed 4/15/24);
60. 87th Avenue Medley FL Holding Corp. - Case No. 24-10790 (D.I. 1, filed 4/15/24);
61. 131 Industrial Blvd Holding Corp. - Case No. 24-10791 (D.I. 1, filed 4/15/24);
62. 162 Route Road Troy Holding Corp. - Case No. 24-10792 (D.I. 1, filed 4/15/24);
63. 177A Street Surrey Holding Inc. - Case No. 24-10793 (D.I. 1, filed 4/15/24);
64. 401 South Meridian OKC Holding Corp. - Case No. 24-10794 (D.I. 1, filed 4/15/24);
65. 3000 Pitfield Holding Inc. - Case No. 24-10795 (D.I. 1, filed 4/15/24);
66. 8201 Hwy 66 Tulsa Holding Corp. - Case No. 24-10796 (D.I. 1, filed 4/15/24);
67. 13th Street Pompano Beach FL Holding Corp. - Case No. 24-10797 (D.I. 1, filed
    4/15/24);
68. 52 Street Edmonton Holding Inc. - Case No. 24-10798 (D.I. 1, filed 4/15/24);
69. 59th Ave Phoenix Holding Corp. - Case No. 24-10799 (D.I. 1, filed 4/15/24);
70. 68th Street Saskatoon Holding Inc. - Case No. 24-10800 (D.I. 1, filed 4/15/24);
71. 84 St SE Calgary Holdings Inc. - Case No. 24-10801 (D.I. 1, filed 4/15/24).




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